                  United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-1157                                                     September Term, 2023
                                                                            EPA-88FR36654
                                                           Filed On: May 16, 2024
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,

               Petitioner
       v.

Environmental Protection Agency and
Michael S. Regan, Administrator, U.S. EPA,

                  Respondents
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City Utilities of Springfield, Missouri, et al.,
                  Intervenors
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Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193, 23-1195,
23-1199, 23-1200, 23-1201, 23-1202,
23-1203, 23-1205, 23-1206, 23-1207,
23-1208, 23-1209, 23-1211, 23-1306,
23-1307, 23-1314, 23-1315, 23-1316,
23-1317

       BEFORE:         Wilkins, Childs, and Pan, Circuit Judges

                                             ORDER

       Upon consideration of the motion for leave to intervene filed by Arizona Public
Service Company and Salt River Project Agricultural Improvement and Power District,
the responses in opposition thereto, and the reply, it is

      ORDERED that the motion for leave to intervene be denied. Movants have not
shown good cause for the untimely filing of their motion. See Fed. R. App. P. 15(d);
Fed. R. App. P. 26(b).

                                            Per Curiam
